
USCA1 Opinion

	














                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 94-1298

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                      ROY GRAY,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                 [Hon. A. David Mazzone, Senior U.S. District Judge]
                                         __________________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                _____________________

               Jamie  Ann Sabino,  with whom  Klibaner and  Sabino, was  on
               _________________              ____________________
          brief for appellant.
               Roberta  T. Brown,  Assistant United  States  Attorney, with
               _________________
          whom  Donald  K. Stern,  United  States  Attorney  and Thomas  C.
                ________________                                 __________
          Frongillo, Assistant  United States  Attorney, were on  brief for
          _________
          appellee.



                                 ____________________

                                   August 16, 1995
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                    TORRUELLA, Chief Judge.   Appellant Roy Gray challenges
                    TORRUELLA, Chief Judge
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          the district court's denial of his motion to withdraw his plea of

          guilty  to  charges  of  conspiracy  to  distribute  cocaine  and

          distribution of cocaine.   Because we  find that Gray  reasonably

          misunderstood the consequences of his  guilty plea, we remand  to

          the district court for further proceedings.

                                      BACKGROUND
                                      BACKGROUND

                    On January 20,  1993, a federal grand jury  returned an

          indictment  charging  Gray  with   one  count  of  conspiracy  to

          distribute cocaine base, in violation of 21 U.S.C.   846, and one

          count  of distribution  of cocaine  and aiding  and abetting,  in

          violation  of  21  U.S.C.      841(a)(1)  and  18  U.S.C.      2,

          respectively.   Gray was arrested on April  8, 1993, and pled not

          guilty  at his arraignment.   On October 18,  1993, the scheduled

          trial date, Gray changed his plea to guilty as to both charges.

                    At his change of  plea hearing, the court asked  Gray a

          series of questions pursuant to Fed. R. Crim. P. 11.  In response

          to  these questions,  Gray  stated that  he  had attended  school

          through  the  "eighth  or  ninth  grade;"  he  denied  taking any

          medicine, drugs, or alcohol on the day of the hearing, and stated

          that he had not been treated recently for any mental condition or

          mental  illness.   Gray  also  stated  that  he  had  no  trouble

          understanding the court's questions.

                    The  court  advised  Gray  of his  rights  in  specific

          detail, and informed him that he would waive these rights when he

          pled guilty.  Gray  stated that he understood his  rights as they


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          had been explained, that he understood that by pleading guilty he

          would lose those rights,  and that he gave up those rights freely

          and voluntarily.

                    The government  then  summarized the  evidence that  it

          would have  offered if  Gray's case  had gone  to trial,  and the

          court explained the nature of the charges.

                    The court asked Gray if he was entering his guilty plea

          freely and voluntarily, to which Gray answered yes.  With respect

          to Gray's possible sentence, the following colloquy took place:

                      COURT:  Do you believe it is in your best
                      interest  to enter  a plea  of  guilty at
                      this time? 

                      GRAY:  Yes, your Honor.  The reason why I
                      am pleading  guilty is like:   Take it to
                      trial and let the  jury and the tape with
                      me on the tape  talking, I don't stand no
                      chance.    I'd  rather  plead  out,  your
                      Honor.

                      COURT:  So you believe then, in the light
                      of   the  evidence   on  the   tapes  and
                      otherwise,  that  it   is  in  your  best
                      interest to plead guilty even if you have
                      some  feelings about what you were really
                      doing at the time, what was  really going
                      on at the time; is that right, sir?

                      GRAY:  Yes, sir.  And I rather plea.

                      COURT:   Well, with that understanding in
                      mind, do you still enter your plea freely
                      and voluntarily?

                      GRAY:  Yes, your Honor.

                      COURT:     Do  you  understand  what  the
                      maximum punishment can be?

                      GRAY:  Not exactly, your Honor.

                      COURT:   The  maximum punishment  is  ten
                      years to life.

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                      GRAY:  Yes, your Honor.

                      COURT:   And a fine  of up to  $4 million
                      dollars -- $8 million?

                      GRAY:  Yes, your Honor.

                      COURT:   And a special assessment  of $50
                      on each count, do you understand?

                      GRAY:  Yes, your Honor.

                      COURT:  Do you  understand the matter  of
                      your sentence is up to me?

                      GRAY:  Yes, your Honor.

                      COURT:    That  I  am not  bound  by  the
                      agreement  that you have reached with the
                      government?

                      GRAY:  Yes, your Honor.

                      COURT:   And,  also, do  you  understand,
                      sir,  that  you   might  be  subject   to
                      deportation?

                      GRAY:  Yes, your Honor.

                    The court subsequently found that:   1) Gray's plea was

          made freely and voluntarily; 2) Gray understood the nature of the

          charges  against him and the nature and consequences of his plea;

          3)  Gray was competent to enter his  plea; 4) Gray understood his

          rights,  and had freely and  voluntarily waived them;  and 5) the

          factual basis for the guilty plea was adequate, and that Gray had

          indicated  that it was  in his best  interest to enter  a plea of

          guilty.

                    Thirty-six days later, on November 23, 1993, Gray moved

          to withdraw  his plea, alleging that:   1) he did  not understand

          the plea  agreement which he  signed; 2) he  took no part  in the

          sale of  drugs as part of  the alleged conspiracy; and  3) he did

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          not understand that the consequences of his plea, specifically as

          to his  sentence.  On February 3, 1994, the district court held a

          hearing  on  Gray's  motion.    At  the  hearing,  the  arguments

          proffered  by Gray's  counsel focused  almost exclusively  on the

          second  of these claims and Gray's assertions of innocence at his

          change of plea  hearing.   Essentially, Gray argued  that he  had

          only pled  guilty because  his co-defendants and  defense counsel

          had  suggested that  it  was  the best  course  of  action.   The

          district court denied Gray's motion  to withdraw his guilty plea.

          In so  doing, the court pointed  out that it had  found that Gray

          had understood what he  was doing and had pled guilty  because he

          felt it to be in his best interests to do so.  The district court

          explained to Gray that "there is no question in my  mind that you

          were  hesitant  in pleading;  but I  have  to conclude  that your

          hesitation was  brought about  not so  much  from your  protested

          innocence as much as it is from the penalty that you faced."1

                                       ANALYSIS
                                       ANALYSIS

                    A.   Applicable Legal Principles
                    A.   Applicable Legal Principles
                         ___________________________

                    While a  defendant has no absolute right  to withdraw a

          guilty plea,  United States  v. Ribas-Dominicci,  50 F.3d  76, 78
                        _____________     _______________

          (1st Cir. 1995), a district court may allow such a request upon a

          showing of "a fair and just reason."  Fed. R. Crim. P. 32(d); see
                                                                        ___

          also Ribas-Dominicci,  50  F.3d at  78; United  States v.  Cotal-
          ____ _______________                    ______________     ______

          Crespo,  47  F.3d  1, 3  (1st  Cir.  1995).    We  have  recently
          ______

                              
          ____________________

          1  The Presentence Report  for Gray had not yet been  prepared by
          the date of the hearing on Gray's motion to withdraw his plea.

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          reiterated  that  the factors  to  be  considered in  determining

          whether  there  is  such   a  reason  are:    1)  the  force  and

          plausibility of  the  proffered  reason;  2) the  timing  of  the

          request;  3)  whether  the   defendant  has  asserted  his  legal

          innocence;  and  4)  whether  the  parties  had  reached  a  plea

          agreement.   Cotal-Crespo,  47 F.3d  at 3-4.   These  factors are
                       ____________

          relevant to the ultimate  issue to be addressed,  namely, whether

          the  plea  was "knowing,  voluntary  and  intelligent within  the

          meaning of [Fed. R. Crim. P.] 11."  Id. at 3.
                                              __

                    We  have explained  that by entering  a guilty  plea, a

          defendant effectively waives several constitutional rights.   For

          that waiver to be valid, the  plea must amount to a voluntary and

          intentional  relinquishment or  abandonment of  a known  right or

          privilege.  Id. at 4 (citing McCarthy v.  United States, 394 U.S.
                      __               ________     _____________

          459,  466  (1969)).   Rule  11  was  intended  to ensure  that  a

          defendant  who pleads guilty does so with an understanding of the

          nature of the charge and the consequences of the plea.  Id. at 4.
                                                                  __

          We have  identified the  three "core  concerns" of Rule  11:   1)

          absence  of coercion;  2)  the defendant's  understanding of  the

          charges; and 3) the defendant's  knowledge of the consequences of

          the guilty plea.  Id.   While technical violations of Rule 11 may
                            __

          often be deemed harmless, a total failure  to address one of Rule

          11's  "core concerns" mandates that the guilty plea be set aside.

          Id.  In the absence of such a "total failure," the question to be
          __

          determined  is  whether  deficiencies  in  the  Rule  11  hearing




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          affected the defendant's "substantial rights."  Fed. R. Crim.  P.

          11(h); see also Cotal-Crespo, 47 F.3d at 5.
                 ________ ____________

                    In determining  whether there  has been a  violation of

          one of  the core concerns of  Rule 11, we review  the totality of

          the  circumstances surrounding the  Rule 11 hearing  at which the

          defendant pled  guilty.  Cotal-Crespo,  47 F.3d  at 4.   We  have
                                   ____________

          explained that "[w]hat is  critical is the substance of  what was

          communicated  by the trial court, and what should reasonably have

          been understood by  the defendant,  rather than the  form of  the

          communication."  Id. at 4-5.
                           __

                    We will reverse a district court's decision disallowing

          the  withdrawal  of a  guilty  plea  only  upon a  showing  of  a

          "demonstrable  abuse of  discretion."   Id. at  5.   The district
                                                  __

          court's subsidiary findings of fact in connection  with the plea-

          withdrawal motion are reviewed  only for clear error.   Id.  With
                                                                  __

          these principles in mind, we turn to Gray's claims.

                    B.   Was  Gray's guilty  plea "voluntary
                    B.   Was  Gray's guilty  plea "voluntary
                         ___________________________________
                         and intelligent"?
                         and intelligent"?
                         ________________

                    Gray claims that because of certain deficiencies in his

          Rule  11 hearing, his guilty  plea was not  given voluntarily and

          intelligently.   Although Gray offers several  grounds to support

          his claim, we find that  only one of them merits discussion.   In

          his  motion to withdraw his plea, Gray stated essentially that he

          did not understand that he was pleading to a crime with a minimum

          ten-year sentence.   He claims now that  this misunderstanding of

          the  consequences of  his  plea "tainted  his  decision to  plead



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          guilty," and constitutes  a violation  of one of  Rule 11's  core

          concerns.  Although it is a close question, we agree.

                    When  asked by the court at his Rule 11 hearing whether

          he  understood  "what  the  maximum punishment"  could  be,  Gray

          responded,  "Not  exactly,"  thus   alerting  the  court  to  his

          uncertainty about the consequences  of his plea.  In  its attempt

          to  explain  these  consequences, however,  the  court mistakenly

          stated,  "The maximum punishment is ten years to life." (Emphasis
                        _______

          added).   This statement  was incorrect;  in fact,  the mandatory
                                                                  _________

          minimum sentence for  the crime to which Gray pled guilty was ten
          _______

          years,  and  the  court  had  no  discretion  over  this  minimum

          sentence.   Moreover, this incorrect  explanation was exacerbated

          by the court's subsequent  statement to Gray that "the  matter of

          your sentence  is  up to  me," implying  that the  length of  the

          sentence was  discretionary rather than mandatory.  We think that

          based  on these  statements,  a defendant  could have  reasonably

          concluded that  ten  years  was  the  maximum  sentence,  at  the
                                                _______

          discretion  of  the court,  and that  by  pleading guilty  it was

          possible that he could receive a sentence of less than ten years.

                    The  government  concedes  that  the  district  court's

          incorrect  explanation of Gray's sentence was  "short of ideal." 

          The government nevertheless argues that, when considered in light

          of the fact that Gray had that morning signed the plea agreement,

          which specifically sets  forth the  applicable minimum  mandatory

          sentence  of  ten years,  the  court's mistake  should  be deemed

          harmless.  This argument  ignores the plain language of  Rule 11,


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          stating that "the court must address the defendant personally  in

          open  court and inform the  defendant of, and  determine that the
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          defendant understands," the matters enumerated in Rule 11.   Fed.
          _____________________

          R.  Crim. P. 11(c) (emphasis added).  We have held that "reliance

          on a written document is not a sufficient substitute for personal

          examination  by the  court" in  ascertaining that Rule  11's core

          concerns  are addressed.   United  States v.  Medina-Silverio, 30
                                     ______________     _______________

          F.3d 1, 3  (1st Cir. 1994) (internal quotations omitted).    When

          asked at the hearing, Gray clearly stated under oath that  he did

          not  fully understand  his potential  sentence, despite  the fact
          ___                                             _______

          that  he  had signed  the plea  agreement  that morning.   Gray's

          signature  on  the  plea  agreement  is  therefore   insufficient

          indication of his actual understanding of the consequences of his

          plea,  and  thus  cannot  cure or  obviate  the  court's mistaken

          explanation of the applicable sentence.

                    We think that the substance of what was communicated to

          Gray, specifically the district court's  incorrect and misleading

          explanation of the  mandatory minimum sentence, could  have led a

          reasonable person to misunderstand the consequences of his guilty

          plea  in this  context, thus  implicating one  of Rule  11's core

          concerns.

                    Although  the court's error is  not a "total failure to

          address"  one of Rule  11's core  concerns, see  Cotal-Crespo, 47
                                                      ___  ____________

          F.3d  at  5,  we  cannot  say  with  any  certainty  that  Gray's

          reasonable misunderstanding  of his  sentence did not  affect his

          substantial rights within the  meaning of Rule 11.   In fact, the


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          record  indicates, and  the government  even suggests,  that Gray

          decided  to withdraw his guilty plea only after learning the true

          consequences  of  his  decision  through   discussions  with  his

          counsel.   It seems likely, at  the very least, that  if Gray had

          clearly and  accurately understood  the consequences of  a guilty

          plea,  he would  have  decided differently.    The court's  error

          leading  to Gray's  misunderstanding  therefore  affected  Gray's

          substantial rights, and Gray's guilty plea cannot be said to have

          been given voluntarily and  intelligently.2  Accordingly, we hold

          that  the  district  court  erred  in  denying  Gray's  motion to

          withdraw his guilty plea.3

                    The  judgment of  conviction  and sentence  is vacated.
                    ______________________________________________________

          The guilty plea is set aside and the case is remanded for further
          _________________________________________________________________

          proceedings consistent with this opinion.
          ________________________________________



                              
          ____________________

          2   We recently rejected a somewhat similar challenge as harmless
          error.  In  United States v. L pez-Pineda, 55  F.3d 693 (1st Cir.
                      _____________    ____________
          1995), the appellant contended that the Rule 11 plea colloquy had
          been  deficient due  to  the failure  of  the district  court  to
          identify the applicable minimum mandatory sentence.  Id. at  696.
                                                               __
          The   four-part  test   for   assessing  such   Rule  11   claims
          (plausibility of  grounds for  requesting plea change,  timing of
          request,  assertion  of  innocence,  and   legal  sufficiency  of
          original Rule  11 hearing), requires  a different result  in this
          case.   First,  Gray advances  a  plausible basis  for requesting
          vacation of his  guilty plea  and for failing  to understand  the
          sentencing consequences  of his  guilty plea,  see supra  at 8-9,
                                                         ___ _____
          whereas  L pez-Pineda tendered a  highly implausible explanation.
          Second, L pez-Pineda complained only  after his sentence had been
          imposed.   Id. at 697.  Third, unlike Gray, L pez-Pineda asserted
                     __
          no claim of innocence.  Id.
                                  __

          3   Because we find  that Gray misunderstood  the consequences of
          his guilty  plea and reverse on this basis, we do not address his
          other arguments on appeal.

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